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                                   8                                UNITED STATES DISTRICT COURT
                                   9                           NORTHERN DISTRICT OF CALIFORNIA
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                                         CARLOS PERDOMO,
                                  11                                                    Case No. 17-06962 BLF (PR)
                                                       Plaintiff,
                                  12                                                    ORDER OF DISMISSAL
Northern District of California




                                                 v.
 United States District Court




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                                  14     WARDEN MUNTEZ, et al.,
                                  15                   Defendants.
                                                                                        (Docket No. 57)
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                                  18          Plaintiff, a California inmate, filed a pro se civil rights complaint under 42 U.S.C. §
                                  19   1983 against prison officials at Salinas Valley State Prison. The matter was referred to
                                  20   Magistrate Judge Illman for a settlement conference under the Pro Se Prisoner Settlement
                                  21   Program on August 24, 2020. Dkt. No. 54. A settlement hearing was set for October 28,
                                  22   2020. Dkt. No. 56.
                                  23          On October 19, 2020, the parties filed a stipulation to vacate the settlement
                                  24   conference and for voluntary dismissal of this matter with prejudice. Dkt. No. 57. The
                                  25   signed stipulation states:
                                  26
                                                     Plaintiff Carlos Perdomo and defendants R. Binkele, E. Borla, and
                                  27          W. Muniz have resolved this case in its entirety. Therefore, the parties
                                              stipulate to vacate the settlement conference currently scheduled on
                                  28          October 28, 2020. [¶] The parties further stipulate to dismissal of this
                                           Case 5:17-cv-06962-BLF Document 58 Filed 10/19/20 Page 2 of 2




                                                action with prejudice under Federal Rule of Civil Procedure 41(a)(1)(A)(ii).
                                   1
                                                [¶] Each party shall bear its own litigation costs and attorneys’ fees.
                                   2   Dkt. No. 57 at 1.
                                   3            Accordingly, IT IS HEREBY ORDERED THAT this action and all claims asserted
                                   4   herein against Defendants are DISMISSED WITH PREJUDICE.
                                   5            The Clerk shall close the file.
                                   6            IT IS SO ORDERED.
                                   7   Dated: _October 20, 2020_________                  ________________________
                                   8                                                      BETH LABSON FREEMAN
                                                                                          United States District Judge
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Northern District of California
 United States District Court




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                                       Order of Dismissal
                                       PRO-SE\BLF\CR.17\06962Perdomo_dism(settled)
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